Case 23-11069-CTG   Doc 1062-1   Filed 11/08/23   Page 1 of 9




                    EXHIBIT A
Case 23-11069-CTG   Doc 1062-1   Filed 11/08/23   Page 2 of 9
Case 23-11069-CTG   Doc 1062-1   Filed 11/08/23   Page 3 of 9
Case 23-11069-CTG   Doc 1062-1   Filed 11/08/23   Page 4 of 9
Case 23-11069-CTG   Doc 1062-1   Filed 11/08/23   Page 5 of 9
Case 23-11069-CTG   Doc 1062-1   Filed 11/08/23   Page 6 of 9
Case 23-11069-CTG   Doc 1062-1   Filed 11/08/23   Page 7 of 9
Case 23-11069-CTG   Doc 1062-1   Filed 11/08/23   Page 8 of 9
Case 23-11069-CTG   Doc 1062-1   Filed 11/08/23   Page 9 of 9
